Case 2:22-cv-02042-KSH-CLW Document 1-1 Filed 04/08/22 Page 1 of 11 PageID: 6




                              Exhibit 1
 Case 2:22-cv-02042-KSH-CLW Document 1-1 Filed 04/08/22 Page 2 of 11 PageID: 7




                                                        SUMMONS
Attorney(s) Amit Deshmukh, Esq.
                                                                                  Superior Court of
Office Address 29 Columbia Turnpike
Town, State, Zip Code
                      Florham Park, NJ 07932                                         New Jersey
                                                                                  Hudson         Bounty
Telephone Number 973-845-9912                                                       Chancery        Division
Attorney(s) for Plaintiff                                                  Docket No: HUD-C-7-22


RobertaParadiso et als
       Plaintiff(s)
                                                                                    CIVIL ACTION
   vs.                                                                                SUMMONS
Bank of America, NA


         Defendant(s)

From The State of New Jersey To The Defendant(s) Named Above:

      The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New Jersey, The complaint attached
to this summons states the basis for this lawsuit. If you dispute this complaint, you or your attorney must file a written
answer or motion and proof of service with the deputy clerk of the Superior Court in the county listed above within 35 days
from the date you received this summons, not counting the date you received it, (A directory of the addresses of each deputy
clerk of the Superior Court is available in the Civil Division Management Office in the county listed above and online at
http://www.njcourts.gov/forms/10153 deptyclerklawrefpdf.)If the complaint is one in foreclosure, then you must file your
written answer or motion and proof of service with the Clerk of the Superior Court, Hughes Justice Complex,
P.O. Box 971, Trenton, NJ 08625-0971. A filing fee payable to the Treasurer, State ofNew Jersey and a completed Case
Information Statement(available from the deputy clerk of the Superior Court) must accompany your answer or motion when
it is filed. You must also send a copy, of your answer or motion to plaintiffs attorney whose name and address appear above,
or to plaintiff, if no attorney is named above. A telephone call will not protect your rights; you must file and serve a written
answer or motion (with fee of$175.00 and completed Case Information Statement) if you want the court to hear your
defense.

     Ifyou do not file and serve a written answer or motion within 35 days, the court may enter a judgment against you for
the relief plaintiff demands, plus interest and costs of suit. Ifjudgment is entered against you, the Sheriff may seize your
money, wages or property to pay all or part of the judgment.

     If you cannot afford an attorney, you may call the Legal Services office in the county where you live or the Legal
Services of New Jersey Statewide Hotline at 1-888-LSNJ-LAW (1-888-576-5529). If you do not have an attorney and are
not eligible for free legal assistance, you may obtain a referral to an attorney by calling one of the Lawyer Referral Services.
A directory with contact information for local Legal Services Offices and Lawyer Referral Services is available in the Civil
Division Management Office in the county listed above and online at
http://www.njcourts.gov/forms/10153 deotyclerldawrefpdf.

                                                                   tqiJT1i& 1))
                                                                          Clerk ofthe Superior Court


DATED: 01/28/2022

Name of Defendant to Be Served: Bank of America,NA

Address of Defendant to Be Served: C/o CT Corporation, Registered Agent, 160 Mine Lake Ct. Raleigh, NC 27615




Revised 11/17/2014, CN 10792-English (Appendix XII-A)
Case 2:22-cv-02042-KSH-CLW Document 1-1 Filed 04/08/22 Page 3 of 11 PageID: 8
           HUD C 000007-22 01/14/2022 Pg 1 of 9 Trans ID: CHC202210705




   Our File No.: 120-21
   Atnit Deshmukh,Esq. - 127052014
   DESH LAW
   29 Columbia Turnpike, Suite 302
   Florham Park, New Jersey 07932
   Tel.(973)845-9912
   Attorneyfor Plaintiff

   ROBERTO PARADISO, JANICE PARADISO,
   PRINCIPIO PARADISO and GIOVANNA                      SUPERIOR COURT OF NEW JERSEY
   PARADISO,                                            LAW DIVISION: HUDSON COUNTY
              Plaintiffs,                               CHANCERY DIVISION
                                                        DOCKET NO.: C-7-22


   BANK OF AMERICA,NA                                            Civil Action
                                                        COMPLAINT AND JURY DEMAND

                  Defendant.


          Plaintiffs, Roberto Paradiso, Janice Paradiso, Principio Paradiso and Giovanna Paradiso,

   by way ofcomplaint against the defendant, says:

                                    JURISDICTION AND VENUE

   Jurisdiction and venue are proper as the events giving rise to Plaintiff's Complaint occurred in

   Hudson County,New Jersey, and amount in controversy exceeds the minimal jurisdictional

   requirements ofthis Court.

                                            THE PARTIES

   1. Plaintiffs, ROBERTO PARADISO,JANICE PARADISO,PRINCEPIO PARADISO and

      GIOVANNA PARADISO are individuals owning a residence at 169 Zabriskie Street in the

      Township of Jersey City, County of Hudson, and state ofNew Jersey.

   2. Defendant, BANK OF AMERICA,NA is a business operating at 100 North Tryon Street,

       Charlotte, NC 28255.     -
Case 2:22-cv-02042-KSH-CLW Document 1-1 Filed 04/08/22 Page 4 of 11 PageID: 9
          HUD C 000007-22 01/14/2022  Pg 2 of 9 Trans ID: CHC202210705




  3. At all material times, Defendant includes and included any and all parents, subsidiaries,

      affiliates, divisions, franchises, partners,joint ventures, and organization units of any kind,

      predecessors, successors and assigns and their officers, directors, employees, agents,

      representatives and any and all other persons acting on their behalf.

  4. At all times mentioned herein, BANK OF AMERICA,NA,or by way of their servants,

      agents, employees contracts, and/or sub-contractors, had a duty to ensure that their actions

      and mode of operation did not result in a hazardous, defective, and/or dangerous condition,

      and to provide appropriate warnings to Plaintiff.

                                     GENERAL ALLEGATIONS

   5. Plaintiffs incorporate by reference all prior allegations contained in this Complaint.

  6. On or about January 5, 2007, Plaintiffs and Defendant executed a Mortgage, loan

      #68821801887499,in the amount $300,000.00, securing Plaintiffs' real property located at

       169 Zabriskie Street, Jersey City, NJ as collateral.

   7. Unbeknownst to Plaintiffs at the time ofexecution, Plaintiffs were induced into a fraudulent

       mortgage.

   8. Defendant,through their representative, Deoraine "Trisha" Seebaran, were charged with

      involvement in fraudulent mortgages, HUD-L-1387-09, and F2008-7039.

   9. Plaintiffs made payments until the findings and convictions, and,subsequently, had reason to

       believe the mortgage was no longer valid and encumbering said real property as Defendants

       did not respond to any inquires.

   10. Plaintiff, Roberto Paradiso, filed bankruptcy on January 8, 2020.

   11. Part ofthe bankruptcy procedure required Defendants to respond to a mortgage inquiry by

      Plaintiffs.




                                                     2
Case 2:22-cv-02042-KSH-CLW Document 1-1 Filed 04/08/22 Page 5 of 11 PageID: 10
           HUD C 000007-22 01/14/2022 Pg 3 of 9 Trans ID: CHC202210705




   12. On or about October 9,2020, Defendants provided a payoffin the amount of$323,864.70,

      higher than the original amount ofthe mortgage, despite prior payments.

   13. On or about March 22, 2021, Plaintiffs notified Defendants oftheir grievances.

   14. Defendant failed to provide adequate or justifiable explanation.

                                             FIRST COUNT

       VIOLATION OF THE NEW JERSEY CONSUMER FRAUD ACT N.J.S.A 56:8-2.2

   15. Plaintiffs hereby repeat each and every allegation set forth above as though set forth herein at
       length.

   16. The New-Jersey Consumer Fraud Act("CFA")N.J.S.A. 56:8-2.2 states:

             "Scheme to not sell item or service advertised. The advertisement of merchandise as
             part of a plan or scheme not to sell the item or service so advertised or not to sell the
             same at the advertised price is an unlawful practice and a violation ofthe act to which
             this act is a supplement."

   17. Defendant had a scheme to defraud Plaintiffs, presumably along with others, with onerous.

       mortgages to Plaintiffs' detriment.

   18. Plaintiffs have no opportunity to determine status or validity of mortgage until the

       bankruptcy in October 9, 2020.

   19. Defendant failed to provide response or the required monthly statements in an effort to stall

      Plaintiffs' cause of action.

   20. Defendant still provides no response or justification to the notice of grievance.

   21. Mortgages, as with any other loan, are subject to the protections afforded under CFA

       N.J.S.A. 56:8-1 to -195. See Gorikaiqy.: Wit.shire Credit'Coi,pd2O7           725A3d1103,

      2011      •   XIS 931 (2011).




                                                    3
Case 2:22-cv-02042-KSH-CLW Document 1-1 Filed 04/08/22 Page 6 of 11 PageID: 11
           HUD C 000007-22 01/14/2022 Pg 4 of 9 Trans ID: CHC202210705




   22. Defendant purposefully raising the value ofthe mortgage on October 9,2020 via unexplained

      fees and inducing entry into a fraudulent mortgages to the benefit of Defendant violates

      N.J.S.A. 56:8-2.2,

   23. CFA has extra heightened scrutiny and the need is most acute in situations where the

       Defendant, or their agents, focus on depressed areas, such as Jersey City during the time

       of execution, 2007. See Kugler v. Romain, 58 NJ. at 544, 279 /1.2d 64S

       WHEREFORE,Plaintiffs demand judgment against Defendant for treble damages,interest,

   costs ofsuit, attorney's fees, and granting such further relief as the Court deems equitable and

   just. Actual damages in an amount determined by the Court;

           a. Compensatory damages in an amount to be determined by the Court;

           b. Treble damages in accordance with N.J.S.A. 56:8-2.2;

           c. Interest, costs of suit, attorney's fees;

           d. and granting such further relief as the Court deems equitable and just.

                                           SECOND COUNT

                   VIOLATION OF N.J.S.A. CONSUMER FRAUD ACT 56:8-2

   24. Plaintiffs hereby repeat each and every allegation set forth above as though set forth herein at

       length.

   25. N.J.S.A. 56:8-2 states:

              "Fraud, etc., in connection with sale or advertisement of merchandise or real estate as
              unlawful practice. The act, use or employment by any person of any unconscionable
              commercial practice, deception,fraud, false pretense, false promise,
              misrepresentation, or the knowing, concealment, suppression, or omission of any
              material fact with intent that others rely upon such concealment, suppression or
              omission,in connection with the sale or advertisement of any merchandise or real
              estate,or with the subsequent performance ofsuch person as aforesaid, whether or
              not any person has in fact been misled, deceived or damaged thereby, is declared to
              be an unlawful practice; provided, however,that nothing herein contained shall apply
              to the owner or publisher of newspapers, magazines, publications or printed matter



                                                     4
Case 2:22-cv-02042-KSH-CLW Document 1-1 Filed 04/08/22 Page 7 of 11 PageID: 12
           HUD C 000007-22 01/14/2022  Pg 5 of 9 Trans ID: CHC202210705




                 wherein such advertisement appears, or to the owner or operator of a radio or
                 television station which disseminates such advertisement when the owner,publisher,
                 or operator has no knowledge ofthe intent, design or purpose ofthe advertiser."

   26. Defendant advertised mortgage and mortgage services. Defendant employed unconscionable

      commercial practice, deception, fraud, false pretense, false promise, misrepresentation, or the

      knowing, concealment, suppression, or omission of any material fact with intent that others

      rely upon such concealment, suppression or omission, in connection with the sale or

       advertisement by failing to disclosure hidden fees.

   27. Plaintiffs suffered an ascertainable loss as a result ofDefendants' fraudulent and unlawful

      conduct as aforesaid.

   28. Plaintiffs were directly and proximately harmed as a result of Defendants' material

       misrepresentation.

       WHEREFORE,Plaintiff demands judgment against Defendants jointly, severally, or in the

   alternative, for:

           e. Actual damages in an amount determined by the Court;

           f. Compensatory damages in an amount to be determined by the Court;

           g. Treble damages in accordance with N.J.S.A. 56:8-2;

           h. Interest, costs of suit, attorney's fees;

           i. and granting such further reliefas the Court deems equitable and just.

                                            THERD COUNT

                                     BREACH OF FIDICVARY DUTY

   29. Plaintiffs hereby repeat each and every allegation set forth above as though set forth herein at

       length.




                                                     5
Case 2:22-cv-02042-KSH-CLW Document 1-1 Filed 04/08/22 Page 8 of 11 PageID: 13
           HUD C 000007-22 01/14/2022 Pg 6 of 9 Trans ID: CHC202210706




   30. Defendant, as mortgage holder and servicer, owes a duty to the debtor to not charge hidden

       or excessive fees, or enter into fraudulent mortgages.

   31. Defendant breached said duty with their notice, dated October 9, 2020, displaying

       unexplained fees onto the mortgage.

        WHEREFORE,Plaintiffs demand judgment against Defendant for damages,interest, costs

   ofsuit, attorney's fees, and granting such further relief as the Court deems equitable and just.

                                             FOURTH COUNT'

                            QUIET TITLE PURSUANT TO N.J.S.A. 2A:62-1

   32. Plaintiffs hereby repeat each and every allegation set forth above as though set forth herein at

       length,

    33. For the aforementioned reasons, Defendant compelled Plaintiffs to obtain a fraudulent

        mortgage, clouding Plaintiffs' title to the real property.

    34. Defendant adds fees and charges withoutjustification to the mortgage, further clouding title

        and creating a scenario favoring Defendant at the cost ofPlaintiffs.

    35. N.J.S.A. 2A:62-1 permits a landowner to file suit for clarification ofthe validity or reach of

        his title in circumstances that otherwise preclude a forum for the resolution ofsuch a dispute,

        See Suser v. Wachovia Mortgage, FSB,433 N.J. Super. 317(N.J. Super. 2013);78 A.3d

        1014.

        WHEREFORE,Plaintiffs demand the following relief:

            a. Defendant has no estate, interest or right in, or lien or encumbrance upon the

                 aforesaid lands and premises or any part thereof;

            b. Defendant herein is permanently enjoined from asserting any adverse claim to the

                 plaintiff's title to the property;




                                                      6
Case 2:22-cv-02042-KSH-CLW Document 1-1 Filed 04/08/22 Page 9 of 11 PageID: 14
           HUD C 000007-22 01/1.4/202? Pg 7 of9 Trans ID: CHC202210705




          c, Plaintiff has a perfect title to the subject property, lands and premises and owns same

              in fee simple, and is entitled to quiet and peaceful possession ofthe said real

              property;

          d. Removing and discharging the recorded mortgages held by aforesaid defendants and

              all persons or entities claiming under said defendant, so as to render the subject

              property marketable and alienable by plaintiff,

          e. and granting such further relief as the Court deems equitable and just.

                                            FIFTH COUNT

                    QUIET TITLE PURSUANT TO N.J. STAT. 2A:50-56.1

      53. Plaintiffs hereby repeat each and every allegation set forth above as though set forth

         herein at length.

      54. N.J. Stat. § 2A:50-56.1(c): "Six years from the date on which the debtor defaulted, which

         default has not been cured, as to any ofthe obligations or covenants contained in the

          mortgage or in the note, bond, or other obligation secured by the mortgage, except that if

         the date to perform any ofthe obligations or covenants has been extended by a written

         instrument or payment on account has been made,the action to foreclose shall not be

          commenced after six years from the date on which the default or payment on account

         thereof occurred under the terms ofthe written instrument."

      55. Here, Plaintiffs defaulted on January 2010, when the last payment was missed,

      56.Pursuant N.J.S,A. 2A:50-23,

                          "Retroactive effect: This article shall be applicable to all agreements,

                          express or implied,to assume the payment of any bond secured by a

                          mortgage, whether heretofore or hereafter made. In the case ofsuch




                                                     7
Case 2:22-cv-02042-KSH-CLW Document 1-1 Filed 04/08/22 Page 10 of 11 PageID: 15
           HUD C 000007-22 01/14/2022  Pg 8 of 9 Trans ID: CHC202210705




                           agreements heretofore made,the time within which the action may be

                           brought, unless previously barred by any provision oflaw, shall be not

                           later than 3 months from the date ofthe accrual of the cause of action."

       57. Mortgage loans, exactly the same as the one in question, are subject to retroactive

           application. See Anirra Investment Co. v. Shaloub, F-30508-18 (Ch. Div. June 30,2016)

       58. Defendant no longer has the power or right to foreclosure on the real property in

           question, as of January 2016, clouding title to the determine ofPlaintiffs.

       WHEREFORE,Plaintiffs demand the following relief:

           a. Defendant has no estate, interest or right in, or lien or encumbrance upon the

               aforesaid lands and premises or any part thereof;

           b. Defendant herein is permanently enjoined from asserting any adverse claim to the

               plaintiffs title to the property;

           c. Plaintiff has a perfect title to the subject property, lands and premises and owns same

               in fee simple, and is entitled to quiet and peaceful possession ofthe said real

               property;

            d. Removing and discharging the recorded mortgages held by aforesaid defendants and

               all persons or entities claiming under said defendant, so as to render the subject

               property marketable and alienable by plaintiff;

            e. and granting such further relief as the Court deems equitable and just.

                           CERTIFICATION PURSUANT TO R.4:5-1(3)(21

           I hereby certify the matter in controversy is not the subject of any other action pending in

    any court or of a pending arbitration proceeding.




                                                     8
Case 2:22-cv-02042-KSH-CLW Document 1-1 Filed 04/08/22 Page 11 of 11 PageID: 16
            HUD C 000007-22 01/14/2022 ,Pg 9 of 9 Trans ID: CH.C202210705




                              DESIGNATION FOR TRIAL COUNSEL

           Pursuant to R.4:25-4, Amit Deshmulda, Esq.,is hereby designated as trial counsel.

                                           JURY DEMAND

           The plaintiff demands trial by a jury on all ofthe triable issues ofthis complaint, pursuant

    to New Jersey Court Rules 1:8-2(b) and 4:35-1(a).

                                                                        DESH LAW
                                                                        Attorneys for Plaintiff


    Date: January 14,2022                                       By: /s/AmitDeshmukh
                                                                     Amit Deshmukh,Esq.




                                                     9
